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                          IN THE T]NITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

UNITED STATES OF AMERICA

v                                                    No.4:23-CR- 252-O

JUSTTN DOUANGMALA (01)

                PLEA AGREEMENT PURSUANT TO RULE ll(cXlXB)
                         WITH WAIVER OF APPEAL

         Justin Douangmala ("the Defendant"), the Defendant's attomey, and the United

States of America ("the government"), agree as follows:

         1.    Rights of the Defendant: The Defendant understands that he has the

right:

               a.         to plead not guilty;
               b.         to have atrial by jury;
               c.         to have his guilt proven beyond a reasonable doubt;
               d.         to confront and cross-examine witnesses and to call witnesses in his
                          defense; and
               e.         against compelled self-incrimination.

         2.    Waiver of rights and plea of guilty: The Defendant waives these

rights, waives any defenses he may have based on any statute of limitations, and pleads

guilty to the offense alleged in Count One of the Information, charging Conspiracy to

Traffick in Firearms, in violation of 18 U.S.C. $ 933(aX3). The Defendant understands

the nature and elements of the crime to which he is pleading guilty, and agrees that the

factual resume he has signed is true and will be submitted as evidence.




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        3-      Sentence: The maximum penalties the Court can impose are as follows:

        a.     imprisonment for a period not to exceed fifteen (15) years;
        b.     a fine not to exceed $250,000;
        c.     a term of supervised release not to exceed three (3) years, which may be
               mandatory under the law and will follow any term of imprisonment. If the
               defendant violates any condition of supervised release, the Court may
               revoke such release term and require that the defendant serve an additional
               period of confinement;
        d.     a mandatory special assessment of $100;
        e.     restitution to victims or to the community; and
        f.     forfeiture of firearms and ammunition.

       4.      Court's sentencing discretion and role of the Guidelines: The

Defendant understands that the sentence in this case will be imposed by the Court after

consideration of the United States Sentencing Guidelines. The guidelines are not

binding on the Court, but are advisory only. The Defendant has reviewed the guidelines

with his attorney, but understands no one can predict with certainty the outcome of the

Court's consideration of the guidelines in this case. Pursuant to Fed. R. Crim. P.

11(c)(1)(B), the govemment hereby recommends a sentence within the advisory

guideline imprisonment range as determined by the Court after ruling on any objections

by the parties. However, the defendant understands that this recommendation is not

binding on the Court, and the defendant will not be allowed to withdraw the defendant's

plea if the recommendation is not followed or if the applicable advisory guideline range

is higher than expected. The Defendant fully understands that the actual sentence

imposed (so long as it is within the statutory maximum) is solely in the discretion of the

Court, and he will not be allowed to withdraw his plea if his sentence is higher than

expected.




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        5.       Immigration consequences: The defendant recognizes that pleading

guilty may have consequences with respect to the defendant's immigration status if the

defendant is not a citizen of the United States. Under federal law, a broad range of

crimes are removable offenses. The defendant understands this may include the offense

to which the defendant is pleading guilty, and for purposes of this plea agreement, the

defendant assumes the offense is a removable offense. Removal and other immigration

consequences are the subject ofa separate proceeding, however, and the defendant

understands that no one, including the defendant's attorney or the district court, can

predict to a certainty the effect of the defendant's conviction on the defendant's

immigration status. The defendant nevertheless affirms that the defendant wants to

plead guilty regardless of any immigration consequences that the defendant's plea of

guilty may entail, even if the consequence is the defendant's automatic removal from the

United States.

       6.        Forfeiture of property: The defendant agrees not to contest, challenge, or

appeal in any way the administrative or judicial (civil or criminal) forfeiture to the United

States of any property noted as subject to forfeiture in the indictment or information, or

seized or restrained in the investigation underlying the indictment or information, to

include a Glock, Model 43X, 9mm caliber pistol, bearing serial number BNULl89; an

Aero Precision, Model Xl5, multi-caliber pistol, SA{: X551534; a Mossberg, Model 500,

l2-gauge shotgun, SAI: T794108; an F.N. Herstal, Model Five-Seven,5.7x28mm pistol,

5A{:386276544; a Kimber, Model Ultra Covert II, .45 caliber pistol, SA{: KUl015691' an

Israel Military Industries Ltd (I.M.I.), Model Desert Eagle, .50 caliber pistol, SA{:


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33201487; a Heckler & Koch Inc., Model HK45, .45 caliber pistol, S,A{: HKU-042392;

an Aero Precision, Model Freedom, multi-caliber pistol, SA.l: 4JULY-10690; a Radical

Firearms, LLC, Model RF-15, multi-caliber rifle, SA{: 20-026290; an Israel Weapon

Industries (IWI), Model Tavor SAR, 5.56 caliber rifle, SA{: T9002656; a Sig-Sauer,

Model SIG M400, 5.56 caliber rifle, S,Atr: 20C051013; a Glock, Model 17, Gen. 4, 9mm

caliber pistol, bearing serial number BEPV614; and assorted ammunition and firearm

accessories. The defendant agrees that this property is subject to forfeiture under l8

U.S.C. $ 924(d) and 28 U.S.C. $ 2a61(c). The defendant consents to entry ofany orders

or declarations of forfeiture regarding such property and waives any requirements

(including notice of forfeiture) set out in l9 U.S.C. gg 1607-1609; l8 U.S.C. g$ 981, 9S3,

and 985; the Code ofFederal Regulations; and Rules 11 and 32.2 ofthe Federal Rules of

Criminal Procedure. The defendant agrees to provide truthful information and evidence

necessary for the government to forfeit such property. The defendant agrees to hold the

government, its officers, agents, and employees harmless from any claim whatsoever in

connection with the seizure, forfeiture, storage, or disposal of such property.

       7.      Defendant's agreement: The defendant is not required by this agreement

to testify. If the defendant were to testify, the defendant's testimony must be complete

and truthful. Incomplete or dishonest testimony will constitute a breach of this

agreement. Upon demand, the defendant shall submit a personal financial statement

under oath and submit to interviews by the govemment and the U.S. Probation Office

regarding the defendant's capacity to satisry any fines or restitution. The defendant

expressly authorizes the United States Attomey's Office to immediately obtain a credit


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report on the defendant in order to evaluate the defendant's ability to satisfy any financial

obligation imposed by the Court. The defendant fully understands that any financial

obligation imposed by the Court, including a restitution order and/or the implementation

of a fine, is due and payable immediately. In the event the Court imposes a schedule for

payment of restitution, the defendant agrees that such a schedule represents a minimum

payment obligation and does not preclude the U.S. Attorney's Office from pursuing any

other means by which to satisfy the defendant's full and immediately enforceable

financial obligation. The defendant understands that the defendant has a continuing

obligation to pay in full as soon as possible any financial obligation imposed by the

Court.

         8.    Government's agreement: The govemment will not bring any

additional charges against the Defendant based upon the conduct underlying and related

to the Defendant's plea of guilty, and the Government will move to dismiss at sentencing

any other counts in the Information or Indictment other than those to which the defendant

is pleading guilty.

         9.    Violation of agreement: The Defendant understands that if he violates

any provision of this agreement, or if his guilty plea is vacated or withdrawn, the

government will be free from any obligations of the agreement and free to prosecute the

Defendant for all offenses of which it has knowledge. In such event, the Defendant

waives any objections based upon delay in prosecution. If the plea is vacated or

withdrawn for any reason other than a finding that it was involuntary, the Defendant also




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waives objection to the use against him ofany information or statements he has provided

to the govemment, and any resulting leads.

        10. Voluntary plea: This plea of guilty is freely and voluntarily made and is
not the result offorce or threats, or of promises aparl from those set forth in this plea

agreement. There have been no guarantees or promises from anyone as to what

sentence the Court will impose.

        I   l.   Representation of counsel: The Defendant has thoroughly reviewed all

legal and factual aspects of this case with his lawyer and is fully satisfied with that

lawyer's legal representation. The Defendant has received from his lawyer explanations

satisfactory to him concerning each paragraph of this plea agreement, each of his rights

affected by this agreement, and the alternatives available to him other than entering into

this agreement. Because he concedes that he is guilty, and after conferring with his

lawyer, the Defendant has concluded that it is in his best interest to enter into this plea

agreement and all its terms, rather than to proceed to trial in this case.

        12. Waiver of right to appeal or otherwise challenge sentence: The
Defendant waives his rights, conferred by 28 U.S.C. g 1291 and l8 U.S.C. S3742,to

appeal the conviction, sentence, fine, order of restitution, and order of forfeiture. The

Defendant further waives his right to contest his conviction, sentence, fine, order of

restitution, and order of forfeiture in any collateral proceeding, including proceedings

under 28 U.S.C. S 2241 and 28 U.S.C. S 2255. The Defendant, however, reserves the

rights to bring (a) a direct appeal of (i) a sentence exceeding the statutory maximum

punishment, or (ii) an arithmetic effor at sentencing; (b) to challenge the voluntariness of


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this plea of guilty or this waiver; and (c) to bring a claim of ineffective assistance of

counsel.

        13. Limitation of Agreement: This agreement is limited to the United States
Attorney's Office for the Northem District of Texas and does not bind any other federal,

state, or local prosecuting authorities, nor does it prohibit any civil or administrative

proceeding against the Defendant or any property.

        14. Entirety of agreement: This document is a complete statement of the
parties' agreement and may not be modified unless the modification is in writing and

signed by all parties.

AGREED ro AND SIGNED ttris           aflay or 4,n,,,<f
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                                                   LEIGHA SIMONTON
                                                   UNITED STATES ATTORNEY


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        D. POE
Attorney for Defendant                                       Criminal Chief




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       I have read or had read to me this Plea Agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.




          DOUANGMALA
                                                   I 2l 'L7
                                                Date




       I am the defendant's counsel. I have carefully reviewed every part of this Plea
            with the defendant. To my knowledge and belief, my client's decision to
                               is an informed and voluntary one.

                                                             ?-Z
        D. POE                                  Date
Attorney for Defendant




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